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                                                                      District Judge Marsha J. Pechman
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 5                              UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF WASHINGTON
 6                                         AT SEATTLE
 7

 8   GERARDO SUSANO ANDRADE,                                  No. 2:20-cv-00692-MJP

 9                                    Plaintiff,              JOINT STIPULATION AND
                           v.                                 ORDER HOLDING
10                                                            CASE IN ABEYANCE
11   KENNETH T. CUCCINELLI, et al.,
                                                              Note on Motion Calendar:
12                                                            September 30, 2020
                                      Defendants.
13

14           Plaintiff brings this litigation pursuant to the Mandamus Act seeking, inter alia, to
15   compel the U.S. Citizenship and Immigration Services (“USCIS”) to adjudicate Plaintiff’s I-485
16   application. Dkt. No. 1. Defendants have yet to answer the Complaint.
             USCIS sent out a Request for Evidence (“RFE”) to Plaintiff. Plaintiff has until October
17
     30, 2020 to respond. In order to give Plaintiff sufficient time to respond to the RFE, and USCIS
18
     sufficient time to review Plaintiff’s responses, the parties, through their counsel, jointly request
19
     that the Court hold this matter in abeyance for a period not to exceed 90 days. The parties agree
20   that this is an acceptable timeframe, and recognize the possibility that this process may moot
21   Plaintiff’s claims.
22           Accordingly, the parties hereby STIPULATE AND AGREE, AND JOINTLY

23   REQUEST, that the Court hold this case in abeyance, and order the parties to file a joint status
     report within 90 days after entry of the proposed Order.
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     STIPULATION AND ORDER HOLDING CASE IN ABEYANCE                          UNITED STATES ATTORNEY
28   2:20-cv-692-MJP                                                        700 STEWART STREET, SUITE 5220
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                                                                                  (206) 553-7970
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     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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 2
     DATED: September 30, 2020                s/ Alexandra Lozano
 3                                            ALEXANDRA LOZANO, WSBA #40478
                                              Alexandra Lozano Immigration Law
 4                                            16400 Southcenter Pkwy., Suite 410
                                              Tukwila, WA 98188
 5                                            Phone: 206-406-3068
 6                                            Fax: 206-494-7775
                                              Email: Alexandra@abogadaalexandra.com
 7
                                              Attorney for Plaintiff
 8

 9
     DATED: September 30, 2020                s/ Michelle R. Lambert
10                                            MICHELLE LAMBERT, NYS #4666657
                                              Assistant United States Attorney
11                                            United States Attorney’s Office
                                              1201 Pacific Ave, Suite 700
12                                            Tacoma, WA 98402
                                              Phone: (253) 428-3824
13                                            Email: michelle.lambert@usdoj.gov
14                                            Attorney for Defendants
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     STIPULATION AND ORDER HOLDING CASE IN ABEYANCE            UNITED STATES ATTORNEY
28   2:20-cv-692-MJP                                          700 STEWART STREET, SUITE 5220
     PAGE– 2                                                    SEATTLE, WASHINGTON 98101
                                                                       (206) 553-7970
               Case 2:20-cv-00692-MJP Document 13 Filed 10/02/20 Page 3 of 3




 1                                                  ORDER

            The Parties having so stipulated and agreed, the Court hereby ORDERS that this action shall
 2
     be held in abeyance for 90 days from the date of this Order, and the parties shall file a Joint Status
 3
     Report with the Court on or before the conclusion of the 90-day period.
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 5          Dated this 2nd day of October, 2020.

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                                                           MARSHA J. PECHMAN
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                                                           United States District Court Judge
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23                                                                                UNITED STATES ATTORNEY
      STIPULATION AND ORDER HOLDING CASE IN ABEYANCE
                                                                                 700 STEWART STREET, SUITE 5220
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24    PAGE– 3
                                                                                   SEATTLE, WASHINGTON 98101
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